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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                 Eastern Division

UNITED STATES OF AMERICA
                                         Plaintiff,
v.                                                       Case No.: 1:19−cr−00277
                                                         Honorable Edmond E. Chang
Concepcion Malinek
                                         Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, February 16, 2021:


        MINUTE entry before the Honorable Edmond E. Chang as to Concepcion
Malinek: The production request to produce the Defendant for sentencing on 02/17/2021
is hereby vacated. The U.S. Marshal's Service is ordered to produce the Defendant,
in−person, on 03/23/2021 at 1:00 p.m. for sentencing. Emailed notice (mw, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
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